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                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF DELAWARE

 ROBERTO DONOLO,                                  )
                                                  )
                           Plaintiff,             )
                                                  )   Case No. 1:20-cv-01400-MN
         v.                                       )
                                                  )
 PROTEOSTASIS THERAPEUTICS, INC.,                 )
 DAVID ARKOWITZ, FRANKLIN                         )
 BERGER, MEENU CHHABRA, BADRUL                    )
 A. CHOWDHURY, KIM COBLEIGH                       )
 DRAPKIN, EMMANUEL DULAC,                         )
 JEFFREY W. KELLY, YUMANITY                       )
 THERAPEUTICS, INC., YUMANITY                     )
 HOLDINGS, LLC, and PANGOLIN                      )
 MERGER SUB, INC.,                                )
                                                  )
                           Defendants.            )

                   PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

plaintiff hereby voluntarily dismisses the above-captioned action (the “Action”). Defendants have

filed neither an answer nor a motion for summary judgment in the Action, and no class has been

certified in the Action.

 Dated: December 24, 2020                        RIGRODSKY & LONG, P.A.

                                           By: /s/ Gina M. Serra
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